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                         AMENDED NUMBER SIXTY-FOUR (2020)

                DECLARATION OF A STATE OF EMERGENCY
           DUE TO CIVIL UNREST AND INSITUTION OF A CURFEW
       IN THE CITY OF RICHMOND AND THE CITY OF VIRGINIA BEACH

Importance of the Issue

        On this day, May 31, 2020, I declare that a state of emergency exists in the
Commonwealth of Virginia due to past and potential future civil unrest that poses a danger to
public safety. The Commonwealth of Virginia has experienced significant events in the past 48
hours that have required intervention to restore order, ensure the safety of protestors and the
public, protect property, and provide additional resources to support our local and state
partners. In the past 24 hours alone, there have been numerous instances of unlawful activity
resulting in injuries to peaceful protestors and first responders, significant property damage, and
continued escalation of violent events. Specific incidents include unlawful assemblies declared
in the City of Richmond, Prince William County, and Roanoke, extensive property damage in
the City of Richmond and the City of Virginia Beach including the burning of two buildings,
vehicle fires, debris and dumpster fires, vandalism, looting, and the damage to law enforcement
vehicles.

        The Commonwealth has a compelling interest to maintain peace and order in the face of
escalating tension. The effects of this civil unrest constitute an emergency wherein human lives
and public and private property are imperiled, as described in § 44-146.16 of the Code of
Virginia (Code). Action is necessary to preserve life and property and to alleviate the conditions
caused by this situation.

        Therefore, by virtue of the authority vested in me by Article V of the Constitution of
Virginia, by §§ 44-146.17 and 44-75.1 of the Code, and as Governor and Director of Emergency
Management and Commander-in-Chief of the Commonwealth’s armed forces, I proclaim that a
state of emergency exists in the Commonwealth of Virginia . Accordingly, I direct state and local
governments to render appropriate assistance to prepare for and respond to this situation, to
alleviate any conditions resulting from the situation, and to implement recovery and mitigation
operations and activities so as to return impacted areas to pre-event conditions as much as
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possible. Emergency services shall be conducted in accordance with § 44-146.13 et seq. of the
Code.

       In order to marshal all public resources and appropriate preparedness, response, and
recovery measures, I order the following actions:

   A. Implementation by state agencies of the Commonwealth of Virginia Emergency
      Operations Plan, as amended, along with other appropriate state plans.

   B. Activation of the Virginia Emergency Operations Center and the Virginia Emergency
      Support Team, as directed by the State Coordinator of Emergency Management, to
      coordinate the provision of assistance to state, local, and tribal governments and to
      facilitate emergency services assignments to other agencies.

   C. Authorization for the heads of executive branch agencies, on behalf of their regulatory
      boards as appropriate, and with the concurrence of their Cabinet Secretary, to waive any
      state requirement or regulation, and enter into contracts without regard to normal
      procedures or formalities, and without regard to application or permit fees or royalties.
      All waivers issued by agencies shall be posted on their websites.

   D. Activation of the Virginia National Guard to State Active Duty.

   E. Authorization of a maximum of $350,000 in state sum sufficient funds for state and local
      government mission assignments and state response and recovery operations authorized
      and coordinated through the Virginia Department of Emergency Management allowable
      by The Stafford Act, 42 U.S.C. § 5121 et seq. Included in this authorization is $250,000
      for the Department of Military Affairs.

        Further, I declare that the City of Richmond and the City of Virginia Beach shall be
under a curfew between the hours of 8 p.m. and 6 a.m. With respect to the City of
Richmond, the curfew shall begin on May 31, 2020, and end June 3, 2020. Unless extended
by further executive order, that curfew shall end at 6 a.m., June 3, 2020. With respect to the
City of Virginia Beach, the curfew shall begin on June 1, 2020 at 8:00 p.m. and end on
June 4, 2020, at 6:00 a.m. unless extended by further executive order. While the curfew is
in place no person shall be present on any street, road, alley, avenue, park, or other public
place in the City of Richmond and the City of Virginia Beach with the following exceptions:

       •   Persons traveling to and from home, work, or places of worship;

       •   Hospital personnel;

       •   Members of the press;

       •   State and City of Richmond employees and volunteers;

       •   Military personnel including but not limited to national guard troops;

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          •   Private emergency medical transport workers;

          •   Travel to and from public meetings City of Virginia Beach City Council and School
              Board;

          •   Persons seeking emergency services; and

          •   Other emergency workers

       Nothing in this Order shall be construed to prohibit or restrict travel to a hospital in the
event of a medical emergency, nor shall such travel be considered in violation of this Order.

      Violation of this Order shall be a Class 1 misdemeanor pursuant to § 44-146.17 of the
Code of Virginia.

Effective Date of this Executive Order

         This Order shall be effective immediately and with the exception to the provisions
instituting a curfew, shall remain in full force and effect until June 29, 2020, unless amended or
rescinded by further executive order.

       Given under my hand and under the Seal of the Commonwealth of Virginia this 1st day
of June, 2020.




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                                                             Ralph S. Northam, Governor


Attest:




Kelly Thomasson, Secretary of the Commonwealth




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